Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 1 of 45 PageID #:25




                            Exhibit 3
Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 2 of 45 PageID #:26


                                                   Intellectual
                                              Property Rights
                                             Seizure Statistics




                                                                           Fiscal Year
                                                                                 2021
FY 2021
2         Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 3 of 45 PageID #:27
             Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 4 of 45 PageID #:28


                                                                                                                    Contents


Executive Summary ...........................................................................................................................5
IPR Seizure Totals ...............................................................................................................................5
Counterfeit Commodity Spotlight – Cell Phones and Accessories ................................................6-7
COVID-19 Spotlight ...........................................................................................................................9
Operational and Enforcement Highlights .........................................................................................11
CBP Partnerships .........................................................................................................................12-15
Help CBP Protect American Ingenuity ..............................................................................................17
Exclusion Orders and Outreach ........................................................................................................19
Outreach: CBP/U.S. Chamber of Commerce Memorandum of Understanding...............................20
Outreach: The Year of the Small and Medium Sized Enterprises Webinar Series............................21
IPR and E-Commerce ...................................................................................................................23-24
Centers of Excellence and Expertise Spotlight.................................................................................25
Mode of Transportation and Top Product Commodities ..................................................................27
Seizure World Map ......................................................................................................................28-29
Number of Seizures ....................................................................................................................30-31
Products Seized by MSRP ............................................................................................................32-33
Total Seizure Lines and MSRP Seized by Economy .....................................................................34-35
Seizures by Mode of Transportation ...........................................................................................36-37
Health, Safety, and Security by Product .......................................................................................38-39
MSRP by Centers of Excellence and Expertise ............................................................................40-41
CBP IPR Points of Contact ...........................................................................................................42-43
                                                                                                                                                      FY 2021




Disclaimer: The information contained in this report does not constitute the official trade statistics of the United
States. The statistics, and the projections based upon those statistics, are not intended to be used for economic
analysis, and are provided for the purpose of establishing U.S. Department of Homeland Security workload.
                                                                                                                                                      3
FY 2021
4         Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 5 of 45 PageID #:29
           Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 6 of 45 PageID #:30


                                                                 Executive Summary


U.S. Customs and Border Protection focuses its                 use for malicious intent while upholding American
trade enforcement efforts on seven Priority Trade              innovation and ingenuity. CBP works with many
Issues (PTI). PTIs represent high-risk areas that              partner government agencies and the trade
can cause significant revenue loss, harm the U.S.              community to mitigate the risks posed by imports of
economy, or threaten the health and safety of the              such illicit goods.
American people. Current PTIs include Intellectual             FY 2021 was another successful year for IPR
Property Rights (IPR), which protect American                  enforcement. CBP made over 27,000 seizures
Intellectual Property by interdicting violative goods          (i.e., 102,490 seizure lines) with an estimated
and leveraging enhanced enforcement authorities.               manufacturer’s suggested retail price (MSRP) of over
Trade in illegitimate goods is associated with                 $3.3 billion, which represents an increase of 152%
smuggling and other criminal activities, and often             over the previous Fiscal Year, when goods valued at
funds criminal enterprises. CBP protects the                   $1.3 billion MSRP were seized for IPR violations. CBP
intellectual property rights of American businesses,           also received and responded to 711 inquiries from
safeguarding them from unfair competition and                  the field concerning IPR enforcement in FY 2021.




                                         IPR Seizures 10 Year Totals



        40,000                                                                                  $3,500,000,000

        35,000
                                                                                                $3,000,000,000
        30,000
                                                                                                $2,500,000,000
       25,000
                                                                                                $2,000,000,000
       20,000
                                                                                                $1,500,000,000
       15,000

       10,000                                                                                   $1,000,000,000

        5,000                                                                                   $500,000,000

                                                                                                $-
            0    2012   2013   2014    2015      2016   2017       2018   2019   2020   2021
                                                                                                                       FY 2021




                                              Seizure            MSRP
                                                                                                                       5
                             Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 7 of 45 PageID #:31


          Counterfeit Commodity Spotlight –
          Cell Phones and Accessories

          Almost all of Americans now own a cell phone of                                               for counterfeiters. The Organisation for Economic
          some kind1. The percentage of Americans that own                                              Co-operation and Development’s report in 2017
          a smartphone is now 85%, up from just 35% in Pew                                              found that nearly one in five mobile phones shipped
          Research Center’s survey of smartphone ownership                                              internationally is fake3. Mobile phones, their accessories
          first conducted in 20112. Production of goods such as                                         and components are among the top categories of fake
          smartphones, smartphone batteries, and chargers, is                                           goods seized by customs authorities and sold in great
          knowledge intensive and the industry relies heavily                                           numbers during sales events such as Black Friday and
          on technologies that are IPR-protected. Thus, the                                             Cyber Monday4. In addition, such counterfeits have
          growing prevalence of such items not only intensifies                                         been recently exploiting the global supply shortage
          IP dependence, but also makes it a lucrative target                                           in semiconductor chips. It is worth noting that the
                                                                                                        global shortage of semiconductor chips is linked to the
                                                                                                        high demand for digital services and manufacturing
                                                                                                        problems emerged during the COVID-19 pandemic5.
                                                                                                        Counterfeiters can exploit this demand and shortage
                                                                                                        in supply by using counterfeit semiconductors such as
                                                                                                        diodes in the market. As semiconductors are integral
                                                                                                        in many areas, e.g., healthcare, transport, and defense,
                                                                                                        the risk of private electronics such as mobile phones and
                                                                                                        accessories being affected is also high6.
                                                                                                        In FY 2021, CBP seized over 1,895 shipments of
                                                                                                        counterfeit cell phones and accessories. The seized
                                                                                                        merchandise is estimated to have a Manufacturer’s
                                                                                                        Suggested Retail Price of over $64 million. A closer
                                                                                                        look at CBP statistics shows that most of the counterfeits
                                                                                                        originated from Hong Kong and China.
                                                                                                        Further, the number of seizures occurred in the express
                                                                                                        consignment and cargo environment combined
                                                                                                        accounted for more than 90 percent of the total IPR
                                                                                                        seizures of cell phones and accessories for FY 2021.
                                                                                                        In addition to the negative economic impacts that such
                                                                                                        counterfeit mobile phones and accessories pose to the
                                                                                                        public, there are also notable non-economic impacts
                                                                                                        that negatively impact society. First, counterfeit mobile
                                                                                                        phones pose significant health and safety risks. Such
                                                                                                        devices may contain levels of chemicals such as lead
                                                                                                        and cadmium that often exceed established safety
                                                                                                        standards. In some cases, the values were 35-40 times
                                                                                                        higher than the globally accepted limits for lead7. CBP,
                                                                                                        citing an investigation conducted by the Government
                                                                                                        Accountability Office, previously reported a 99 percent
FY 2021




                                                                                                        failure rate in 400 counterfeit adapters tested for safety,

          1 Pew Research Center, “Mobile Fact Sheet,” https://www.pewresearch.org/internet/fact-sheet/mobile/, April 7, 2021.
          2 Id.
          3 “One in five mobile phones shipped abroad is fake,” Organization for Economic Co-operation and Development, March 28, 2017, One in five mobile phones shipped abroad is fake - OECD
            and accompanying Report (OECD 2017 Report).
          4 “Counterfeit and pirated goods get boost from pandemic, new report confirms,” European Union Agency for Law Enforcement and Cooperation (Europol), March 7, 2022, https://www.
6




            europol.europa.eu/media-press/newsroom/news/counterfeit-and-pirated-goods-get-boost-pandemic-new-report-confirms and accompanying report (EUROPOL 2022 IPR Threat Report).
                   Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 8 of 45 PageID #:32


                                Counterfeit Commodity Spotlight –
                                      Cell Phones and Accessories

fire, and shock hazards, and found that 12 of such                                            To avert such dangers, consumers should purchase from
adapters posed a risk of lethal electrocution to the user8.                                   reputable sources and professional resellers should be
In addition, counterfeit electronic devices may also                                          aware that counterfeit parts may be part of the supply
include malware and other harmful software, adding the                                        chain.
risk of data theft9.

                                         FY 2021 IPR Seizures – Cell Phones and Accessories
                 Source Country                                                Seizure Lines                                                   % of Total
 Hong Kong                                                                            1,118                                                        59.0%
 China                                                                                 606                                                         32.0%
 South Africa                                                                          33                                                           1.7%
 Malaysia                                                                              18                                                          0.9%
 United States                                                                          17                                                         0.9%
 All Other Countries                                                                   103                                                          5.4%
 Grand Total                                                                          1,895                                                       100.0%

                           FY 2021 MSRP of IPR Seizures – Cell Phones and Accessories
                 Source Country                                                      MSRP                                                      % of Total
 China                                                                         $ 39,183,693                                                        60.7%
 Hong Kong                                                                     $ 22,105,010                                                       34.2%
 Malaysia                                                                       $ 2,005,387                                                        3.1%
 United Arab Emirates                                                            $ 432,091                                                         0.7%
 Vietnam                                                                         $ 236,485                                                         0.4%
 All Other Countries                                                             $ 623,225                                                         1.0%
 Grand Total                                                                   $64,585,891                                                        100.0%




                                                                                                                                                                                       FY 2021




5 See EUROPOL 2022 IPR Threat Report at 12.
6 Id.
7 “International Telecommunication Union’s ITU-T Technical Report,” International Telecommunication Union, December 11, 2015, https://www.itu.int/dms_pub/itu-t/opb/tut/T-TUT-CCICT-
  2015-PDF-E.pdf, at 10.
8 “Combatting Trafficking in Counterfeit and Pirated Goods,” CBP, January 24, 2020, https://www.dhs.gov/sites/default/files/publications/20_0124_plcy_counterfeit-pirated-goods-
                                                                                                                                                                                       7




  report_01.pdf, at 10.
9 See EUROPOL 2022 IPR Threat Report at 12.
FY 2021
8         Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 9 of 45 PageID #:33
           Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 10 of 45 PageID #:34


                                                                   COVID-19 Spotlight


In FY 2021, CBP continued to target and seize illegal imports of counterfeit, unapproved, or otherwise substandard
COVID-19 related products that threatened the health and safety of American consumers. These seizures included
38,154 Food and Drug Administration-prohibited COVID-19 test kits, just over 35 million counterfeit face masks
and 8,677 Food and Drug Administration-prohibited hydroxychloroquine tablets. Fifty-three percent of the seizures
occurred in the express consignment environment, 18 percent were discovered in incoming mail and roughly 31
percent originated in China. CBP also collaborated with partner government agencies to expedite medical supplies
and personal protective equipment through the customs clearance process, while working to identify and intercept
fraudulent, unapproved, or otherwise substandard material


                            FY 2021 Overall COVID- 19 Related Seizure Totals
                                            As of 10/1/2021
               Product                            Total Seizures                                Quantity
 Covid-19 Test Kits                                       53                                    38,154
 Antibody Test Kits                                        9                                    1,063
 Masks                                                    670                                 35,092,178
 Chloroquine                                              10                                     1,810
 Hydroxychloroquine                                       59                                     8,677
 Azithromycin                                             32                                     2,141
 Lianhua Qingwen                                          17                                     17,567
 Respirator/Ventilator                                     1                                       27
 Hand Sanitizers                                           2                                    150,001
 Virus Shut-Out Lanyards                                   1                                    30,000
 Vaccination Cards                                        734                                    21,314


CBP’s COVID-19 Cargo Resolution Team (CCRT), is                 state, and local government agencies; facilitated inbound
comprised of a network of subject matter experts from           shipments through ports of entry; expedited importation
across the agency. The CCRT triaged incoming requests           of critical medical supplies; and responded directly to
from importers and customers; coordinated with federal,         inquiries about the importation of personal protective
                                                                equipment, COVID-19 test kits, ventilators, and other
                                                                medical supplies.
                                                                In FY 2021, the CCRT was responsible for expediting
                                                                shipments of the COVID-19 vaccine and related vaccine
                                                                materials. The CCRT worked closely with several
                                                                importers and other government agencies to ensure the
                                                                vaccine and vaccine materials were released with minimal
                                                                delay. During the FY 2021, the CCRT also responded to
                                                                939 questions from the trade community and facilitated
                                                                                                                            FY 2021




                                                                the clearance of 788 Operation Warp Speed (OWS)
                                                                shipments.
                                                                To read more about CBP’s efforts during the pandemic,
                                                                please visit https://www.cbp.gov/newsroom/coronavirus
                                                                                                                            9
FY 2021
10        Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 11 of 45 PageID #:35
            Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 12 of 45 PageID #:36


                                                              Operational and
                                                       Enforcement Highlights

Components of CBP’s Integrated Trade Targeting Network conducted 4 national level IPR Trade Special Operations
and 76 local IPR Trade Special Operations in FY 2021. These operations targeted high-risk shipments at seaports,
airports, rail facilities, international mail facilities and express carrier hubs across the United States. The IPR Trade
Special Operation is an important tactic used by CBP to gather intelligence on how counterfeiters are shipping
product to the U.S. The operations also disrupt these nefarious supply chains and lead to criminal investigations by
Homeland Security Investigations.




In FY 2021, IPR Trade Special Operations resulted in
seizures worth an estimated $21 million dollars in MSRP.
Importantly, Trade Special Operations often result in
seizures of products that may be both counterfeits
and violations of other import safety laws. Examples
are prohibited food products and unapproved
pharmaceuticals.
IPR Enforcement Training
Part of the Office of Trade’s responsibilities include
training CBP field personnel in identifying suspect
imports, making infringement determinations, and
following proper IP border enforcement procedures. In
FY 2021, despite the travel restrictions caused by the
COVID-19 pandemic, the Office of Trade conducted
more advanced IP enforcement training sessions than in
FY 2020, reaching 8 out of the 10 Centers of Excellence
and Expertise, including the Pharmaceutical, Health
and Chemical CEE, to which Regulations and Rulings
provided instruction on IP enforcement relating to
                                                                                                                            FY 2021




COVID-19 specific products, and to CBP officers (CBPO)
s stationed at the ports of entry with the highest              from attorney-advisors in the Regulations and Rulings
volume of trade. The training continues to raise the            Directorate increased by 20% compared to FY 2019. In
profile of IPR issues: from FY 2019 to FY 2020 the              FY 2021 the number of pre-seizure requests rose even
number of requests from CBP Officers and Importer               more steeply, increasing 57% from FY 2020, totaling over
                                                                                                                            11




Specialists for pre-seizure IPR enforcement advice              700 requests.
                      Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 13 of 45 PageID #:37


          CBP Partnerships


          CBP works with partner government agencies to
                                                                           Annual Arrests, Indictments, and Convictions Related to
          facilitate legitimate trade that supports economic growth                  Intellectual Property Rights Crimes
          and shields the American public and businesses from
          unsafe products, intellectual property theft, and unfair
          trade practices.                                                  500
                                                                                     457
          Immigration and Customs Enforcement (ICE) –
                                                                            400                          391                                                      388
          Homeland Security Investigations (HSI)
          CBP and ICE-HSI identify cases in which third-party               300            288                 286
          intermediaries have demonstrably directed, assisted                                    240
                                                                                                                     260      256

                                                                                                                                                203
          financially, or aided and abetted the importation of              200                                                     197
                                                                                                                                          157                           155
          counterfeit merchandise. In coordination with the                                                                                           125
                                                                            100                                                                              98               100
          Department of Justice, CBP and ICE-HSI seek all
          available statutory authorities to pursue civil fines and          0
          other penalties against these entities, including remedies                    FY17                   FY18                 FY19              FY20              FY21

          under 19 U.S.C. § 1526(f), as appropriate.                              Individuals Arrested                     Indictments Obtained                   Convictions


          CBP and ICE-HSI mitigate the welfare and financial risks
                                                                         31 Convictions, and a total of $54.7 million USD of illicit
          posed by imports of illicit products. In FY 2021, ICE-HSI
                                                                         proceeds seized. The operation has also led to 110
          arrested 388 individuals, obtained 155 indictments, and
                                                                         seizures of counterfeit vaccines, with 49 cases initiated
          received 100 convictions related to intellectual property
                                                                         and 15 criminal arrests made.
          crimes.
                                                                         As the public demand for access to vaccines and
          Collaboration Spotlight: In partnership with CBP,
                                                                         treatments grow, so do illegal attempts to introduce
          HSI launched Operation Stolen Promise (OSP) in April
                                                                         counterfeit versions of these items into U.S. marketplace.
          2020 to protect the Homeland from the increasing and
                                                                         As such, Operation Stolen Promise 2.0 has been
          evolving threat posed by COVID-19- related fraud and
                                                                         launched to expand the focus of OSP to address the
          criminal activity. As part of OSP, CBP Officers and HSI
                                                                         emerging public health threat of counterfeit versions
          special agents have opened investigations nationwide,
                                                                         of COVID-19 vaccines and treatments entering the
          seized millions of dollars in illicit proceeds; made
                                                                         marketplace. OSP 2.0 will focus on tackling new and
          multiple arrests; and shut down thousands of fraudulent
                                                                         evolving public health threats posed by the sale and
          websites. Specifically, OSP during its year aimed to
                                                                         distribution of counterfeit and/or unauthorized vaccines
          focus on three areas: combating the illegal import and
                                                                         and treatments.
          sale of counterfeit and substandard products; detecting
          and deterring financial fraud scams; and preventing the        HSI will continue to partner with CBP to seize mislabeled,
          exploitation of relief and stimulus programs.                  fraudulent, unauthorized, and prohibited COVID-19 test
                                                                         kits, treatment kits, homeopathic remedies, and personal
          One year after its inception in April 2020, OSP has
                                                                         protective equipment (PPE).
          yielded significant results, both statistically and in terms
          of the impact the initiative has on protecting the health
          and safety of the American public. This work has kept
          counterfeit and substandard goods out of the medical
          and consumer supply chains while ensuring violators are
FY 2021




          held accountable for their criminal efforts to exploit the
          pandemic for profit.
          In total, this operation has yielded 3,131 COVID-19
          related seizures that included prohibited COVID-19 Test
          Kits, Prohibited Pharmaceuticals, Counterfeit Masks
12




          and more. OSP has resulted in 362 Criminal Arrests,
Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 14 of 45 PageID #:38


                                               CBP Partnerships




                                                                                FY 2021
                                                                                13
                           Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 15 of 45 PageID #:39


          CBP Partnerships


          The United States Postal Service (USPS)
          USPS is responsible for presenting mail and providing
          electronic data (AED) to CBP for arriving international
          mail parcels. USPS and CBP have worked to target and
          identify 31 violations imported through international
          mail. Both agencies are implementing new strategies
          for leveraging the AED already available to identify
          offending merchandise.
          Collaboration Spotlight: Operation Mega Flex is a
          CBP-led, interagency effort that was initiated in July
          2019 to ensure compliance and assess illicit networks
          in the international mail environment through periodic
          enhanced inspections. CBP conducts Mega Flex
          operations in close coordination with ICE, the U.S.
          Postal Inspection Service, and the U.S. Food and Drug
          Administration (FDA) to detect, intercept, and seize illicit
          goods arriving in small parcels from China.
          For example, most seizures out of Memphis were
          counterfeit drivers’ licenses. These shipments originated
          from China and were shipped to various locations
          throughout the United States. CBP learned that many
          of the shipments were smuggled in the bottom of
          boxes containing tassels, clothing, and even bundles
          of synthetic hair10. Further, in just one day in October
          2020, CBPOs in LAX International Mail Facility (IMF)
          intercepted 812 shipments containing counterfeit
          footwear, handbags, wearing apparel, prohibited plant
          and animal products, and other items that threaten the
          health and safety of American consumers and undermine
          the competitiveness of U.S. businesses11. Similarly,
          CBP’s New York Field Office, home to two IMF’s, John
          F. Kennedy International Airport (the largest IMF in the
          United States), and the Port of New York/Newark, and its
          partners also inspected more than 4,000 shipments and
          seized 127 shipments for IPR violations12.
          On average, CBP processes more than 420,000 parcels
          of mail from China each day. Throughout Operation
          Mega Flex, CBP found that more than 13 percent
          of targeted shipments contain counterfeit goods or
          contraband items.
FY 2021




          10 See https://www.cbp.gov/newsroom/local-media-release/cbp-memphis-seizes-nearly-200-shipments-through-operation-mega-flex.
          11 See https://www.cbp.gov/newsroom/local-media-release/operation-mega-flex-stops-hundreds-illicit-made-china-shipments-lax.
          12 See https://www.cbp.gov/newsroom/local-media-release/cbp-new-york-field-office-seizes-127-ipr-violations-during-operation.
14
            Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 16 of 45 PageID #:40


                                                                       CBP Partnerships


The National Intellectual Property Rights                     their considerable expertise to CBP. By partnering
Coordination Center (IPR Center)                              with industry leaders, CBP links our processes with
The IPR Center, in collaboration with CBP, stands at the      modern business practices, which results in enhanced
forefront of the United States government’s response          compliance with trade laws, improves our facilitation and
to combatting global intellectual property (IP) theft and     enforcement efforts, and assists the U.S. economy. CBP’s
enforcement of its international trade laws.                  engagement with its federal advisory committee, the
Collaboration Spotlight: Operation Team Player is             COAC, is a key component in evaluating and adapting
an ongoing annual operation that begins after every           CBP policies and getting feedback about significant
Super Bowl and continues through the next one,                proposed changes.
targeting international shipments of counterfeit sports       CBP has been able to adopt and implement
merchandise into the United States. This operation is run     recommendations presented by the COAC IPRWG. As
by the IPR Center in collaboration with CBP, the National     of January 2021, CBP began concurrently issuing the
Football League, and other major sports leagues to            notice of seizure (NOS) and initiating publication of the
prevent the illegal importation and distribution of           notice of intent to forfeit on all seized shipments with a
counterfeit sports merchandise.                               domestic value less than $2,500. Although publication
Super Bowl LV was played on February 7, 2021, at              is advanced, all interested parties are afforded the
Raymond James Stadium in Tampa, Florida. CBP and              same opportunity to respond to the NOS as they had
ICE HSI announced the seizure of more than 267,511            under previously existing procedures. Additionally,
counterfeit sports-related items, worth an estimated          CBP announced that effective June 7, 2021, NOS will
$97.8 million manufacturer’s suggested retail price           be emailed to rights holders via the email addresses
(MSRP), through a collaborative enforcement operation         provided to CBP through the IPR e-Recordation
targeting international shipments of counterfeit              program. Delivery of seizure notices via email allows for
merchandise into the United States. They seized               instantaneous notification to the rights holder. Issuing
items such as fake jerseys, hats, rings, t-shirts, jackets,   electronic NOS has increased the speed at which the
tickets, souvenirs, and thousands of other sports related     trade community received the necessary information and
memorabilia prepared to be marked as legitimate and           allowed for instantaneous sharing of the information with
authentic items.                                              the rights holder. It has also benefited CBP as it reduced
                                                              the cost of mailing such notices. This paperless approach
Due to COVID-19, much of the illegal activity moved           aligns with CBP’s continuous effort to improve resource
online, which refocused partner government agency             efficiency. CBP looks forward to further engagement
efforts more towards commercial websites engaged in           with the COAC.
the illegal sale and distribution of counterfeit goods.
Commercial Customs Operations Advisory Committee
(COAC)
The private sector plays an instrumental role in the
global economy and has a unique opportunity to lend
                                                                                                                           FY 2021
                                                                                                                           15
FY 2021
16        Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 17 of 45 PageID #:41
           Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 18 of 45 PageID #:42


                                                                                  Help CBP Protect
                                                                                 American Ingenuity

Donations Acceptance Program                                        Violation Reporting System at https://eallegations.cbp.
Pursuant to Section 308(d) of the Trade Facilitation                gov/s/ or by calling 1-800-BE-ALERT.
and Trade Enforcement Act of 2015, P.L. 114-125, CBP                The e-Allegation program provides an electronic portal
enacted regulations at 19 C.F.R. §133.61, setting forth             through which the trade community and the public
policies and procedures for accepting donations from                can report suspected trade violations to CBP. The
private sector parties of hardware, software, equipment,            e-Allegation process enables CBP, in collaboration with
and technologies for IPR enforcement purposes. These                the partners, to protect our economy from the effects
regulations are consistent with the CBP Commissioner’s              of unfair trade practices and guard against the entry of
FY 2021 priority to identify, detect, and interdict high-           products that could pose a threat to health and safety.
risk shipments through partnerships.
                                                                    In addition to IPR violations, there are other types of
Since 19 C.F.R. §133.61 went into effect in January 2018,           trade violations, such as forced labor violations, duty
DAP has fully executed five formal IPR enforcement                  evasion violations, and shipping violations. For more
partnerships with Procter & Gamble, Otter Products,                 information on various types of trade violations, visit
Cisco Systems, Apple Inc., and Nike Inc. To date, 214               https://www.cbp.gov/trade/e-allegations.
product authentication tools have been deployed to
70 locations. More importantly, these partnerships are              Intellectual Property Rights Search
demonstrably benefiting CBP’s frontline and yielding a              CBP works closely with rights holders in making IPR
positive return on investment for its partners.                     enforcement determinations. A public database of
                                                                    both active and inactive recordations is available using
Intellectual Property Rights e-Recordation                          a search engine called the Intellectual Property Rights
CBP concentrates its IPR border enforcement on                      Search (IPRS) at http://iprs.cbp.gov/.
federally registered trademarks and copyrights that
have been recorded with CBP by their owners using the
Intellectual Property Rights e-Recordation (IPRR) system,                                      Amount of Active Recordations
https://iprr.cbp.gov/. All trademark and copyright
recordations are contained in a secure proprietary
database accessible by CBP personnel at all 328 ports of
                                                                                                                                         20,756
entry. Product ID manuals provided by rights holders are                         FY 2021

also linked to the database and used by CBP in making
                                                              Fiscal Year (FY)




                                                                                 FY 2020                             18,757
IPR border enforcement determinations. In FY21, CBP
added over 2,000 recordations to their enforcement
                                                                                 FY 2019                             18,745
database. As of September 30, 2021, CBP was enforcing
20,758 active recorded copyrights and trademarks.
                                                                                 FY 2018                 17,641
Intellectual Property Rights e-Allegations
                                                                                     16,000   17,000    18,000     19,000      20,000   21,000
Information on potential IPR infringements can be
submitted to CBP using the e-Allegations Online Trade

                                        e-Allegations by Fiscal Year (FY)
          Fiscal Year (FY)                  Amount of IPR (Counterfeit                             Total Number of e-Allegations
                                         Trademark & Piratical Copyright)                                 received that FY
                                                                                                                                                  FY 2021




                                                 e-Allegations
                 2018                                       324                                                      1,162
                 2019                                       264                                                      1,252
                 2020                                       360                                                      1,290
                                                                                                                                                  17




                 2021                                       407                                                      1,743
FY 2021
18        Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 19 of 45 PageID #:43
             Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 20 of 45 PageID #:44


                                  Exclusion Orders and Outreach


Exclusion Orders                                                and to encourage them to shop from legitimate and
CBP enforces exclusion orders issued by the International       trustworthy sources. Due to COVID-19, CBP pivoted
Trade Commission (ITC). Most ITC exclusion orders are           its consumer education campaign to leverage existing
patent based. The ITC issues both limited and general           digital platforms and utilize relationships with trade
exclusion orders. Limited exclusion orders apply only           associations to bring awareness to the dangers of
to infringing articles of named respondents. General            counterfeit goods. This included the use of traditional
exclusion orders bar the entry of infringing articles by all.   media avenues as well as CBP’s social media presence
Exclusion orders prohibit the entry of all covered articles,    (Twitter, Facebook, and Instagram) and updating CBP’s
even if they were not specifically accused and found            IPR website (https://www.cbp.gov/trade/priority-issues/
to infringe by the ITC. Once excluded, subsequent               ipr) and the Truth Behind Counterfeits standalone
importations of the same articles by the same importer          webpage (https://cbp.gov/trade/fakegoodsrealdangers).
are subject to seizure.                                         Asia Pacific Economic Cooperation
 ❱❱   Exclusion Orders – for FY 2021:                           In February 2021, at the Asia Pacific Economic
      ■ Seizures correctly citing 19 USC 1337(i): 81 cases      Cooperation (APEC) Subcommittee on Customs
      ■ Seizure Est. MSRP: $1,930,683.                          Procedures (SCCP) meeting that was hosted virtually
      ■ Total Active Exclusion Orders: ”At the end of           by New Zealand, CBP presented the results of the
        FY 2021, CBP was administering 128 active               COVID-19 joint enforcement effort that took place from
        exclusion orders issued by the U.S. International       November 10 to December 10, 2020. This operation
        Trade Commission following investigations of unfair     helped participating economies with the identification,
        import practices in the importation of articles into    interdiction, and deterrence of counterfeit COVID-19
        the United Sates in violation of 19 U.S.C. § 1337.”     related items and had participation from eight APEC
Public Awareness Campaign                                       economies (Australia, Japan, Mexico, New Zealand,
In FY 2021, CBP continued the Truth Behind Counterfeits         Papua New Guinea, Peru, Thailand, and the United
IPR Public Awareness Campaign intended to educate               States). Following on this effort, the United States and
the public of many harms associated with the purchase           Peru conducted a joint enforcement COVID-19 focused
of counterfeit goods. The goal of the campaign is to            operation in June 2021 to assess IPR trends since the
increase consumer conscientiousness by making people            previous operation. Both the U.S. and Peru presented
aware that buying counterfeits is not a victimless crime        their results to the APEC SCCP at the virtual meeting
                                                                held in August 2021.




                                                                                                                           FY 2021
                                                                                                                           19
                      Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 21 of 45 PageID #:45


          Outreach: CBP/U.S. Chamber of Commerce
          Memorandum of Understanding

          On May 26, 2021, CBP entered a novel memorandum of understanding (MOU) with the U.S. Chamber of Commerce
          (Chamber) that outlines general terms of connecting resources and sharing information to stop the flow of counterfeit
          goods. This memorandum of understanding establishes a first-of-its-kind framework for public-private collaboration
          on combatting counterfeit and pirated goods. The MOU consists of four pillars:

          1. Outreach: CBP and the Chamber agreed to support           3. Training: CBP and the Chamber have agreed
             outreach efforts related to bringing awareness to            to provide bi-directional training to each of their
             the public about the dangers of counterfeit goods.           relevant personnel/members.
             During the holiday season of 2021, CBP and the            4. Data Pilot: CBP is conducting a data sharing pilot
             Chamber participated in a joint holiday campaign,            with three of the Chamber’s member companies,
             the Shop Smart Campaign, which included a media              with the hopes of expanding the pilot to include
             blitz that reached an audience of over 83 million            other companies in the future. The current pilot
             people.                                                      serves as an opportunity to establish best practices
          2. CBP IPR Statistics Data Sharing: CBP provides                for IPR data sharing with the private sector. It also
             exclusive IPR seizure statistics on a quarterly basis        offers CBP the ability to test the viability of data
             to the Chamber. CBP has provided all the FY2021              sharing with major brands to better target and seize
             Quarterly IPR statistics.                                    imports of counterfeit and pirated goods and other
                                                                          IPR violative merchandise.

          Information sharing between CBP and the U.S. Chamber of Commerce strengthens CBP’s ability to defend intellectual
          property standards that generate American jobs, save lives, and enhance our economic prosperity The MOU enhances
          CBP’s abilities to effectively target and intercept substandard, illegitimate goods and protect American ingenuity.
FY 2021
20
           Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 22 of 45 PageID #:46


       Outreach: The Year of the Small and
   Medium Sized Enterprises Webinar Series




In FY 2021 CBP launched a webinar series directed to       how SMEs could protect their ingenuity from infringing
small and medium enterprises entitled ‘The Year of the     imports, what to do after registering your mark with CBP,
Small and Medium Sized Enterprises (SME)’. https://        and e-commerce businesses.
www.cbp.gov/trade/priority-issues/ipr/cbp-year-sme.        Due to this outreach, CBP has seen a rise in the number
The series of webinars focused on topics concerning        of recordation applications by trademark and copyright
how SMEs can work with CBP to help prevent imports         owners of small and medium sized businesses. This
of merchandise that infringes their IPR. During FY 2021,   has reinforced that the CBP recordation program is
CBP hosted four webinars that reached 1200 members         a powerful tool for SMEs in combatting infringing
of the SME trade community. These webinars focused on      importations.




                                                                                                                       FY 2021
                                                                                                                       21
   2021
FY 2021
FY
22        Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 23 of 45 PageID #:47
                  Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 24 of 45 PageID #:48


                                                                                             IPR and E-Commerce


E-commerce is a growing segment of the economy                                                 In response to the increasing challenges in the
of the U.S. It made up 10.7% of the total retail                                               e-commerce environment, CBP has been focusing its
sales in 2019 at $578.5 billion U.S. dollars (USD) and                                         effort to improve trade risk management by working
subsequently accounted for 14% of the total retail sales                                       closely with the trade community. Going into its second
in 2020 amounting to $792 billion USD13. In 2020 alone,                                        year, CBP continues to operate two test pilot programs,
e-commerce sales in the U.S. grew over 40% and reached                                         the Section 321 Data Pilot and the Entry Type 86 Test
$791.8 billion USD in value14.                                                                 and is now looking to formalize the success of these two
During the second quarter of 2021, the U.S. retail                                             pilot programs.
e-commerce sales were estimated at $222.5 billion,                                             Section 321 Data Pilot
an increase of 3.3 percent from the first quarter of                                           Initiated in 2019, the Section 321 Data Pilot is a
202115. The second quarter 2021 e-commerce estimate                                            voluntary collaboration with online marketplaces,
increased at 9.1 percent from the second quarter of                                            carriers, technology firms, and logistics providers to
2020. E-commerce sales in the second quarter of 2021                                           secure e-commerce supply chains and protect American
accounted for 13.3 percent of total sales16. In FY 2021,                                       consumers. CBP is conducting this test for two reasons:
CBP processed 213 million express shipments and 94                                             the first is to determine the feasibility of requiring
million international mail shipments.                                                          advance data from different types of parties; and
Such growing trends comes with many challenges. While                                          the second is to determine the feasibility of requiring
e-commerce shipments pose the same health, safety,                                             additional data that is generally not required under
and economic security risks as containerized shipments,                                        current regulations to effectively identify and target
due to the complex and dynamic nature of the industry,                                         high-risk shipments in the e-commerce environment.
CBP lacks full visibility into the e-commerce supply chain.                                    To further evaluate the Section 321 Data Pilot program
The overwhelming volume of small packages also makes                                           and the risks associated with Section 321 de minimis
CBP’s ability to identify and interdict high risk packages                                     shipments, in August 2021, CBP announced in the
difficult. Further, vague and inaccurate electronic data                                       Federal Register its plan to extend the current test
provided by certain trade entities poses significant                                           program through August 2023.
challenge when targeting shipments.                                                            Since the establishment of the program in 2019, CBP has
                                                                                               experienced significant operational benefits. Specifically,
                                   Growth of Small Shipments                                   along with the administrative ruling issued in July 202017,
                                 (Totals are displayed in millions)
                                                                                               this pilot program better positions CBP to identify
                                                                                               duty evasions and other abuses consistent with current
                                                                                               statutory authorities and helps create a more predictable
                                                                                               enforcement environment for trade. This ruling also
                                              502
                                                       484
                                                                 463
                                                                                               provides CBP with important foreign seller information
                                                                                               with which to target and interdict counterfeit products,
                                                                             356               consumer safety violations, and other threats before they
                                     275                                                       enter the U.S. For the owner or purchaser to qualify as
                           222
                                                                             184
                                                                                     213
                                                                                               the “person” under Section 321, importers are required
                   170                                 161
           150
                                              110
                                                                 144
                                                                                               to provide the first and last name of the owner or
                           91         96                                             94
                                                                                               purchaser, or the name of the business.
           76      82



          2013    2014    2015       2016    2017     2018     2019          2020   2021
                                                                                               Entry Type 86 Test
                                                                                                                                                             FY 2021




                                 Mail Shipments              Express Bills                     In September 2019, CBP also launched a voluntary test
                                                                                               of a Section 321 de minimis commercial entry process
13 “2019 E-Stats Report: Measuring the Electronic Economy,” U.S. Census Bureau, August 5, 2021, https://www.census.gov/
   newsroom/press-releases/2021/e-estats-report-electronic-economy.html.
14 “Monthly Retail Trade,” U.S. Census Bureau, https://www.census.gov/retail/index.html.
15 “Quarterly Retail E-Commerce Sales – 2nd Quarter 2021,” U.S. Census Bureau, August 19, 2021, https://www.census.gov/retail/
                                                                                                                                                             23




   mrts/www/data/pdf/ec_current.pdf.
16 Id.
                           Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 25 of 45 PageID #:49


          IPR and E-Commerce


          through the creation of the new Entry Type 86. The                             of potential counterfeit test kits, medical devices, and
          Entry Type 86 Test allows customs brokers and self-filers                      personal protective equipment related to COVID-19.
          to electronically submit de minimis entries through the                        Pilot participants also experienced fewer holds. One
          Automated Broker Interface, including those subjects to                        platform experienced 97% fewer holds from when
          partner government agency (PGA) data requirements for                          they first began transmitting data. Another platform
          clearance. This new entry type aimed to improve import                         also experienced 90% fewer holds. In addition to such
          safety and security by providing greater visibility into low                   operational benefits, feedback received in a CBP survey
          value shipments for both CBP and PGAs while ensuring                           revealed that pilot participants saw an estimated
          regulatory requirements are met. Creation of the new                           $2 billion USD in time and cost savings associated with
          informal entry type 86 allows for customs brokers and                          the Entry Type 86 Test.
          self-filers to electronically submit entries with a limited
          data set that is exempt from duty, taxes and fees.                             Informed Compliance Efforts
                                                                                         While administering the two pilot programs, CBP has
                                                                                         made significant efforts to engage with the trade
                                                                                         community and to inform stakeholders of the Section
                                                                                         321 administrative ruling and its implications. In addition
                                                                                         to engaging with the ETF, CBP’s E-commerce Branch
                                                                                         and Office of Trade Relations actively connect with
                                                                                         the trade community in various fora. For example,
                                                                                         CBP holds quarterly public meeting with the Advisory
                                                                                         Committee on Commercial Operations (COAC), a group
                                                                                         of private sector stakeholders selected to advise the
                                                                                         Secretaries of the Department of Treasury and the
                                                                                         Department of Homeland Security on the commercial
          Documented Benefits of Section 321 Data Pilot and                              operations of CBP (recordings of part meetings: https://
          Entry Type 86 Test                                                             www.cbp.gov/trade/stakeholder-engagement/coac/
          In FY 2021, CBP received 524 million filings on de minimis                     coac-public-meetings. To reach wider foreign sellers
          shipments (182 million Section 321 Data Pilot; 342 million                     and shippers and inform them of the administrative
          Entry Type 86). In the fourth quarter of fiscal year 2020,                     ruling issued in July 2020, the branch also translated
          CBP received Section 321 Data Pilot data on nearly                             and issued the ruling in Chinese (https://www.cbp.
          25% of all non-mail de minimis shipments. Similarly,                           gov/sites/default/files/assets/documents/2021-
          Entry Type 86 filings accounted for almost 50% of all                          Apr/1%20Administrative%20Ruling%20One-Pager%20
          non-mail de minimis shipments. The two pilot programs                          Mandarin%20Translation.pdf). Lastly, CBP participated
          have also shown significant operational benefits when                          in numerous webinars and online trainings to inform
          pilot participants provided seller information, product                        the public the latest regulations and available resources
          pictures, and other transactional details. First, the                          (https://www.cbp.gov/trade/stakeholder-engagement).
          programs led to more predictable and consistent
          enforcement environment for low-risk shipments and                             CBP understands the importance of working closely with
          trusted trade partners. Second, obtaining advance                              the trade community to achieve its objectives, especially
          data elements significantly reduced CBP workload with                          when implementing new administrative rulings. CBP has
          same-day clearance compared to the previous six- to                            been engaged with the trade community throughout this
          eight-day wait times. Further, advance information                             dynamic process and will continue to work with not only
FY 2021




          led to fewer CBP holds and improved overall security,                          the traditional players, but also foreign stakeholders who
          including mitigating risks associated with the importation                     will be affected by the Section 321 administrative ruling.


          17
24




                                                                                                   https://rulings.cbp.gov/
               search?term=H290219&collection=ALL&sortBy=RELEVANCE&pageSize=30&page=1.
           Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 26 of 45 PageID #:50


                 Centers of Excellence and Expertise
                                           Spotlight

CBP has 10 Centers of Excellence and Expertise (Centers)   intelligence. The Centers are the operational entity
to focus CBP’s trade expertise on industry-specific        of CBP responsible for identifying, assessing and
issues through account-based processing on a national      prioritizing risks within their respective industries with
scale. The Centers, managed from strategic locations       a focus on CBP’s priority trade issues. The Centers also
around the country, have national authority to make        administer the collection of trade remedies as well
trade decisions at all ports of entry in an effort to      as lead and carry out operations to detect and deter
meet the goals of strengthening America’s economic         unlawful trade activities.
competitiveness, enhancing industry knowledge and          To learn more about the Centers, visit https://www.
expertise, developing innovative trade processing          cbp.gov/trade/centers-excellence-and-expertise-
procedures, applying strategic and impactful trade         information.
enforcement actions, and leveraging available trade




                                                                                                                        FY 2021
                                                                                                                        25
FY 2021
26        Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 27 of 45 PageID #:51
   Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 28 of 45 PageID #:52


                          Mode of Transportation and
                           Top Product Commodities



SEIZURES BY MODE OF
TRANSPORTATION                                                                       7,293
                                                                                     MAIL



                                                                          2,274 CARGO



16,926
EXPRESS                                                ALL OTHERS 622


TOP PRODUCTS
SEIZED BY
NUMBER OF              30%              28%             13%                 12%          5%

SEIZURE LINES        WEARING          HANDBAGS/        FOOTWEAR           WATCHES/    CONSUMER
                    APPAREL/           WALLETS                            JEWELRY    ELECTRONICS
                   ACCESSORIES



                                                                                      ALL
                                                                                     OTHER
                  4%             3%               1%               1%
                                                                                  COMMODITIES
               CONSUMER PHARMACEUTICAL/ AUTOMOBILE/
               PRODUCTS  PERSONAL CARE   AEROSPACE
                                                                  LABEL
                                                                   TAGS
                                                                                       4%
                                                                                                   FY 2021
                                                                                                   27
             Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 29 of 45 PageID #:53


          Seizure World Map
                                       FISCAL YEAR 2021 IPR SEIZURES STATISTICS
                                       BY NUMBER OF SEIZURE LINES




                                                                             COLOMBIA
                                                                                6%




                                                                                             TURKEY
                                                                                              11%




                                      FY 2021 TOTALS
                                      NUMBER OF SEIZURE LINES: 102,490
FY 2021




                                      MSRP: $3.3 Billion
28
Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 30 of 45 PageID #:54


                                           Seizure World Map


             CHINA
              33%




                                           PHILIPPINES
                                               6%




     HONG
     KONG
     18%



                                                                                FY 2021




                  ALL OTHER COUNTRIES 27%
                                                                                29
             Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 31 of 45 PageID #:55


          Number of Seizures


                                     Number of Seizures Lines by Fiscal Year 2021


                                    1%
                                  1%
                                                 4%
                                3%
                           4%
                                                                       Wearing Apparel/Accessories
                      5%
                                                         30%           Handbags/Wallets

                                                                       Footwear

                                                                       Watches/Jewelry

                                                                       Consumer Electronics
                       12%
                                                                       Consumer Products

                                                                       Pharmaceutical/Personal Care

                                                                       Automotive/Aerospace

                                                                       Labels/Tags

                      13%                                              All Other Commodities


                                                        28%




                                     Number of Seizures Lines by Fiscal Year 2020


                                  1%        1%
                                                 3%
                                4%

                           4%
                                                                           Wearing Apparel/Accessories
                     8%
                                                                           Handbags/Wallets
                                                          28%
                                                                           Footwear

                                                                           Watches/Jewelry

                                                                           Consumer Electronics

                                                                           Consumer Products
                       13%
                                                                           Pharmaceutical/Personal Care

                                                                           Automotive/Aerospace
FY 2021




                                                                           Labels/Tags

                                                                           All Other Commodities
                                                              23%
                            15%
30
Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 32 of 45 PageID #:56


                                                     Number of Seizures


                      Number of Seizure Lines by Product – FY 2021
               Products                  Seizure Lines                Percentage
    Wearing Apparel/Accessories              30,681                       30%
    Handbags/Wallets                         28,331                       28%
    Footwear                                 13,355                       13%
    Watches/Jewelry                          12,313                       12%
    Consumer Electronics                      5,380                        5%
    Consumer Products                         3,721                        4%
    Pharmaceuticals/Personal Care             3,155                        3%
    Automotive/Aerospace                      1,303                        1%
    Labels/Tags                                641                         1%
    All Other Commodities                     3,610                        4%
    Number of Seizure Lines                  102,490                     100%




                      Number of Seizure Lines by Product – FY 2020
               Products                  Seizure Lines                 % of Total
    Wearing Apparel/Accessories              20,386                       28%
    Handbags/Wallets                         16,554                       23%
    Footwear                                 10,868                       15%
    Watches/Jewelry                           9,405                       13%
    Consumer Electronics                      5,534                        8%
    Consumer Products                         2,940                        4%
    Pharmaceuticals/Personal Care             2,819                        4%
    Automotive/Aerospace                       968                         1%
    Labels/Tags                                470                         1%
    All Other Products                        2,413                        3%
    Number of Seizure Lines                  72,357                      100%
                                                                                              FY 2021




 * In an effort to streamline DHS reporting, we are now reporting seized by seizure lines
   and not seizures. This will allow for greater specificity, especially for those seizures
   which contain more than one type of commodity. Shipments with multiple products are
   categorized as All Other Commodities. Because the individual percentage figures are
   rounded, in some cases, the sum of the rounded percentages for a given fiscal year is
                                                                                              31




   slightly higher or lower than 100 percent.
             Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 33 of 45 PageID #:57


          Products Seized by MSRP


                                                   MSRP By Product FY 2021


                                  1%
                                 1%
                               2%             3%
                             3%
                       5%                                       36%               Watches/Jewelry

                                                                                  Handbags/Wallets

                                                                                  Wearing Apparel/Accessories
                          6%
                                                                                  Pharmaceuticals/Personal Care

                                                                                  Consumer Electronics

                                                                                  Footwear
                      15%
                                                                                  Consumer Products

                                                                                  Toys

                                                                                  Computers/Accessories

                                                                                  All Other Commodities



                                 29%
                                               Total FY 2021 MSRP $3,330,037,350




                                              MSRP By Product FY 2020
                                       1%
                                 2%
                                         5%
                            4%

                       4%                                       33%               Watches/Jewelry

                                                                                  Handbags/Wallets
                     5%
                                                                                  Consumer Electronics

                                                                                  Wearing Apparel/Accessories

                                                                                  Footwear

                                                                                  Pharmaceuticals/Personal Care
                       12%
                                                                                  Consumer Products

                                                                                  Labels/Tags

                                                                                  Automotive/Aerospace
                               13%
FY 2021




                                                                                  All Other Commodities

                                                             22%



                                              Total FY 2020 MSRP $1,309,156,510
32
      Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 34 of 45 PageID #:58


                                            Products Seized by MSRP


                                      MSRP By Product – FY 2021
                       Products                       MSRP                     Percentage
            Watches/Jewelry                       $1,186,747,146                    36%
            Handbags/Wallets                       $972,495,390                     29%
            Wearing Apparel/Accessories            $487,370,983                     15%
            Pharmaceuticals/Personal Care          $185,043,493                     6%
            Consumer Electronics                   $171,010,749                     5%
            Footwear                               $96,690,708                      3%
            Consumer Products                      $72,075,495                      2%
            Toys                                   $25,420,514                      1%
            Computers/Accessories                  $24,553,282                      1%
            All Other Products                     $108,629,590                     3%
            Grand Total                          $3,330,037,350                    100%
            Number of Seizure Lines                  102,490



                                      MSRP By Product – FY 2020
                       Products                       MSRP                     Percentage
            Watches/Jewelry                        $435,249,467                     33%
            Handbags/Wallets                       $282,702,448                     22%
            Consumer Electronics                   $173,829,670                     13%
            Wearing Apparel/Accessories            $157,226,661                     12%
            Footwear                               $63,146,456                      5%
            Pharmaceuticals/Personal Care          $56,190,152                      4%
            Consumer Products                      $49,695,611                      4%
            Labels/Tags                            $19,823,791                      2%
            Automotive/Aerospace                   $11,063,561                      1%
            All Other Products                     $60,228,693                      5%
            Grand Total                          $1,309,156,510                    100%
            Number of Seizure Lines                   72,537
                                                                                                             FY 2021




* In an effort to streamline DHS reporting, we are now reporting seized by seizure lines and not
  seizures. This will allow for greater specificity, especially for those seizures which contain more than
  one type of commodity. Shipments with multiple products are categorized as All Other Commodities.
  Because the individual percentage figures are rounded, in some cases, the sum of the rounded
                                                                                                             33




  percentages for a given fiscal year is slightly higher or lower than 100 percent.
              Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 35 of 45 PageID #:59


          Total Seizure Lines and MSRP Seized
          by Economy

                                        Seizure Lines By Economy FY 2021




                                  27%
                                                                     33%               China

                                                                                       Hong Kong

                                                                                       Turkey

                                                                                       Philippines

                                                                                       Colombia
                        6%
                                                                                       All Other Countries



                             6%
                                                              18%
                                         11%




                                                 Number of Seizure Lines: 102,490




                                          Seizure Lines By Economy FY 2020




                                        16%

                                                                                           China
                          2%
                                                                                           Hong Kong
                        3%
                                                                                           Turkey
                                                                           37%
                                                                                           Vietnam
                             9%
                                                                                           Thailand

                                                                                           All Other Countries
FY 2021




                                               32%



                                                     Number of Seizure Lines: 72,357
34
           Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 36 of 45 PageID #:60


                Total Seizure Lines and MSRP Seized
                                        by Economy


                           Seizures Lines and Related MSRP by Economy – FY 2021
         Trading Partner               Seizure Lines                 % of Total                    MSRP
China                                      33,323                       33%                   $1,888,298,761
Hong Kong                                  18,466                       18%                    $613,462,655
Turkey                                     10,781                       11%                     $60,347,048
Philippines                                 6,416                       6%                     $45,692,010
Colombia                                    5,912                       6%                      $23,980,798
All Other Countries                        27,592                       27%                    $698,256,079
Total                                     102,490                      100%                   $3,330,037,350




                           Seizures Lines and Related MSRP by Economy – FY 2020
         Trading Partner               Seizure Lines                 % of Total                    MSRP
China                                      26,985                       37%                    $660,767,476
Hong Kong                                  23,493                       32%                    $428,961,694
Turkey                                      6,831                       9%                      $31,237,035
Vietnam                                     2,123                       3%                      $25,803,755
Thailand                                    1,445                       2%                     $12,601,807
All Other Countries                        11,480                       16%                    $149,784,743
Grand Total                                72,357                      100%                   $1,309,156,510


                                                                                                               FY 2021




           * The aggregate seizure data reflect the reported country of origin, not necessarily where the
             seized goods were produced. Because the individual percentage figures are rounded, in
             some cases, the sum of the rounded percentages for a given fiscal year is slightly higher or
             lower than 100 percent.
                                                                                                               35
              Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 37 of 45 PageID #:61


          Seizures by Mode of Transportation


                              Modes of Transportation by MSRP (in millions)




             $1,800
             $1,600
             $1,400
             $1,200                                                                        FY 2021
             $1,000
                                                                                           FY 2020
              $800
              $600                                                                         FY 2019
              $400                                                                         FY 2018
              $200
                 0
                          Express            Mail            Cargo             Other




                                       Modes of Transportation by Seizures




                25,000

                20,000
                                                                                       FY 2021
                15,000
                                                                                       FY 2020
                10,000                                                                 FY 2019

                 5,000                                                                 FY 2018

                      0                       Mail          Cargo            Other
                             Express
FY 2021
36
          Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 38 of 45 PageID #:62


                Seizures by Mode of Transportation




                                                 Modes of Transport
                                               Estimated MSRP (in Millions)
                         FY 2021            FY 2020                 FY 2019        FY 2018
Express                  $1,036.1            $589.1                  $553.5         $549.2
Mail                      $231.5              $98.1                  $175.6         $197.3
Cargo                    $1,575.7            $463.4                  $488.2         $447.9
Other                     $486.7             $158.5                  $337.9         $205.4
              TOTAL      $3,330.0           $1,309.1                $1,555.2       $1,399.8




                                                 Modes of Transport
                                                        Seizures
                         FY 2021            FY 2020                 FY 2019        FY 2018
Express                   16,926             17,001                  15,811         21,632
Mail                       7,293             6,886                    8,982          9,643
Cargo                      2,274             1,993                   1,903           1,673
Other                       622               623                      903            862
              TOTAL       27,115             26,503                   27,599        33,810

                                                                                              FY 2021
                                                                                              37
              Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 39 of 45 PageID #:63


          Health, Safety, and Security (HSS)
          by Product

                         Health, Safety, and Security (HSS) by Commodity FY 2021



                                       0.6%     0.3%
                               1.3%
                                               3.8%
                             2.6%
                                                                   Pharmaceuticals/Personal Care
                        4.7%
                                                                   Consumer Electronics

                       7.0%                                        Automotive/Aerospace

                                                                   Wearing Apparel/Accessories

                                                                   Cigarettes

                                                                   Consumer Products
                                                       46.6%
                         15.3%                                     Computers/Accessories

                                                                   Sporting Goods

                                                                   Food

                                                                   All Other Commodities


                                        17.8%




                         Health, Safety, and Security (HSS) by Commodity FY 2020



                              0.5%            0.4%
                        1.4%
                                              4.9%
                        2.1%
                      2.4%                                          Pharmaceuticals/Personal Care
                         2.9%
                                                                    Consumer Electronics

                                                                    Automotive/Aerospace

                                                                    Consumer Products
                         9.0%
                                                                    Computers/Accessories
                                                       47.6%
                                                                    Cigarettes

                                                                    Sporting Goods
FY 2021




                                                                    Wearing Apparel/Accessories

                                                                    Food

                                     28.7%                          All Other Commodities
38
Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 40 of 45 PageID #:64


             Health, Safety, and Security (HSS)
                                   by Product

            Health, Safety, and Security (HSS) by Commodity – FY 2021
    Health, Safety, and Security        Seizure Lines                % of Total
    Pharmaceuticals/Personal Care            3,041                     46.6%
    Consumer Electronics                     1,165                     17.8%
    Automotive/Aerospace                     1,002                     15.3%
    Wearing Apparel/Accessories              457                        7.0%
    Cigarettes                               309                        4.7%
    Consumer Products                         170                       2.6%
    Computers/Accessories                     84                        1.3%
    Sporting Goods                            38                        0.6%
    Food                                      19                        0.3%
    All Other Commodities                    247                       3.8%
    Number of Seizure Lines                 6,532                      100%



            Health, Safety, and Security (HSS) by Commodity – FY 2020
    Health, Safety, and Security        Seizure Lines                % of Total
    Pharmaceuticals/Personal Care            2,706                     47.6%
    Consumer Electronics                     1,630                     28.7%
    Automotive/Aerospace                     511                        9.0%
    Consumer Products                        165                        2.9%
    Computers/Accessories                    139                        2.4%
    Cigarettes                               119                        2.1%
    Sporting Goods                            81                        1.4%
    Wearing Apparel/Accessories               30                        0.5%
    Food                                      21                        0.4%
    All Other Commodities                     277                      4.9%
    Number of Seizure Lines                  5,679                     100%




  * In an effort to streamline DHS reporting, we are now reporting seized by seizure
                                                                                        FY 2021




    lines and not seizures. This will allow for greater specificity, especially for
    those seizures which contain more than one type of commodity. Shipments
    with multiple products are categorized as All Other Commodities. Because the
    individual percentage figures are rounded, in some cases, the sum of the rounded
    percentages for a given fiscal year is slightly higher or lower than 100 percent.
                                                                                        39
             Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 41 of 45 PageID #:65


          MSRP by Centers of Excellence
          and Expertise



                                                                           MSRP by Center of Excelle
                  Fiscal Year                      FY 2021                                   FY 2020
                 Center Name               MSRP              % of Total             MSRP               %
                                                              MSRP
              Consumer                $2,358,989,573           70.84%            $841,588,271          6
              Products and Mass
              Merchandising
              Apparel, Footwear and    $588,394,332            17.67%            $231,915,396
              Textiles
              Electronics              $196,173,287            5.89%             $170,643,120          1
              Pharmaceuticals,         $138,605,159            4.16%              $21,024,365
              Health and Chemicals
              Automotive and            $21,168,082             0.64%            $10,857,996
              Aerospace
              Agriculture and            $9,284,046             0.28%              $893,941
              Prepared Products
              Industrial and             $5,514,953             0.17%             $3,260,622
              Manufacturing
              Materials
              Machinery                $10,741,371             0.32%            $22,860,881
              Base Metals               $1,166,547             0.04%             $6,111,920
              Total                   $3,330,037,350           100%            $1,309,156,510
FY 2021
40
              Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 42 of 45 PageID #:66


                               MSRP by Centers of Excellence
                                              and Expertise



 ence and Expertise (CEEs)
                          FY 2019                                 FY 2018
% of Total        MSRP              % of Total            MSRP               % of Total
 MSRP                                MSRP                                     MSRP
 64.28%       $1,000,628,016          64.34%          $1,037,183,326          74.09%


 17.71%       $383,694,303            24.67%           $192,996,007           13.79%

 13.03%        $117,028,274            7.52%           $121,609,130            8.69%
  1.61%         $9,234,202             0.59%            $8,896,989             0.64%

  0.83%         $9,868,483            0.63%            $14,638,119             1.05%

  0.07%         $3,882,013            0.25%             $4,578,951             0.33%

  0.25%         $1,225,896            0.08%              $951,393              0.07%


  1.75%        $27,810,170             1.79%           $11,475,793             0.82%
  0.47%        $1,897,700              0.12%           $7,544,135              0.54%
  100%       $1,555,269,057            100%          $1,399,873,842            100%           FY 2021
                                                                                              41
              Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 43 of 45 PageID #:67


          CBP IPR Points of Contact



                              Questions? Contact the IPR Help Desk For As
                              Monday through Friday to answer questions on I
                              via email at IPRHELPDESK@cbp.dhs.gov.

                              Regulations, Rulings, and Recordation – For qu
                              contact Regulations and Rulings (RR) at hqiprbra
                              the e-Recordation program, contact iprrquestion
                              articles potentially subject to an ITC exclusion or
                              Rulings@cbp.dhs.gov.

                              Guidance on CBP IPR Policy and Programs - Th
                              coordinates with rights holders, members of the
                              agencies, and foreign governments in developing
                              policy and programs. To contact the IPR Division

                              e-Allegations - If you are aware of or suspect a c
                              please report the trade violation using CBP’s e-A
                              System at https://eallegations.cbp.gov/s/. Trade
                              1-800-BE-ALERT.

                              National Intellectual Property Rights Coordin
FY 2021




                              Intellectual Property Rights, including counterfei
                              Coordination Center at https://www.iprcenter.go
42
           Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 44 of 45 PageID #:68


                                      CBP IPR Points of Contact



ssistance - CBP’s IPR Help Desk is staffed
IPR enforcement. Contact the IPR Help Desk


 uestions about CBP’s IP enforcement regime,
anch@cbp.dhs.gov. For information concerning
ns@cbp.dhs.gov. Ruling requests regarding
rder may be submitted to EOEBranch.ITC337.


 he IPR and E-Commerce Division (IPR Division)
 trade community, CBP staff, other Federal
 g and implementing the Agency’s IPR strategy,
n, email iprhelpdesk@cbp.dhs.gov.

company or individual is committing IPR crime,
Allegations Online Trade Violation Reporting
 violations can also be reported by calling


nation Center - To Report Violations of
                                                                                           FY 2021




 iting and piracy, contact the National IPR
 ov/referral/ or telephone 1-866-IPR-2060.
                                                                                           43
Case: 1:24-cv-08062 Document #: 1-2 Filed: 09/05/24 Page 45 of 45 PageID #:69




                                                                       CBP Publication No. 2018-0922
